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 Proposed Efficiency Counsel to
 Official Committee of Unsecured Creditors

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

     In re:                                                                   Case No. 22-19361 (MBK)

                                                                              Judge Michael B. Kaplan
     BLOCKFI INC., et al.1
                                                                              Chapter 11

                                           Debtors.                           Jointly Administered



              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

                   PLEASE TAKE NOTICE that McCarter & English, LLP hereby appears in the

 above-referenced chapter 11 cases on behalf of the Official Committee of Unsecured Creditors

 and, pursuant to Rules 2002, 9007 and 9010(b) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), hereby requests that copies of all notices and pleadings given or

 required to be given in this case, and all papers served or required to be served in this case, be

 delivered and served upon the undersigned attorneys at the following address, telephone and

 facsimile numbers and email addresses, and further requests to be added to the master service list




 1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
 LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
 (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
 address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.

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 established in this case:

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                   PLEASE TAKE FURTHER NOTICE that the foregoing request includes not

 only notices and papers referred to in the Bankruptcy Rules specified above, but also includes,

 without limitation, all other notices, papers, reports, orders, agenda letters, applications, motions,

 petitions, pleadings, requests, complaints or demands, statements of affairs, operating reports,

 schedules of assets and liabilities whether formal or informal, whether written or oral, and

 whether transmitted or conveyed by the United States, overnight or electronic mail, facsimile,

 courier, telephone, telegraph, telex or otherwise.

 Dated: December 30, 2022
        Newark, New Jersey                   McCARTER & ENGLISH, LLP

                                             /s/ Lisa S. Bonsall
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